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                 Exhibit 40 to
  The Governor’s Motion for Summary Judgment


           Declaration of Senator Tom Sullivan




            Gates et al. v. Polis, No. 1:22-cv-1866-GPG-SKC (D. Colo.)
                               September 11, 2023
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-CV-1866-GPG-SKC

  BENJAMIN GATES,
  TRAVIS SWARTZ,
  KARL HONEGGER, and
  NATIONAL FOUNDATION FOR GUN RIGHTS, INC.
       Plaintiffs,
  v.
  JARED S. POLIS, in his official capacity as Governor of the State of Colorado,
       Defendant.

                            DECLARATION OF SEN. TOM SULLIVAN

          I, Sen. Tom Sullivan, pursuant to 28 U.S.C. § 1746, state as follows:

          1.      My name is Tom Sullivan, and I represent Senate District 27 in the Colorado

  Senate. I was elected to the Senate in 2022, and took office in January 2023.

          2.      Prior to my election to the Colorado Senate, I represented the people of House

  District 37 from 2019 through 2022. This is my fifth year as a member of the Colorado General

  Assembly.

          3.      I never thought I would be an elected official. I joined the Air Force out of high

  school, and eventually settled down in Colorado as a postal worker.

          4.      But my life changed on July 20, 2012. Early that morning, my son Alex was one

  of twelve moviegoers murdered in the Aurora theater shooting.

          5.      That night led me down the path I am today. First as an advocate for victims and

  their families, and later as a state legislator.

          6.      I first ran for office in 2016, before being elected in 2018. Today I represent a

  Senate district just down the road from the theater where my son was killed.
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         7.      As a legislator, it doesn’t matter whether the topic is guns, jobs, education, or

  affordable housing: I listen to the people in my community about the things that are affecting

  them, and try and find solutions to make their lives better.

         8.      When something poses a danger to the community, legislators look for legislative

  solutions to reduce that danger. We don’t try and solve hypothetical problems—people are facing

  enough real challenges as it is. We don’t regulate an item when it is invented, we regulate an

  item once it starts to pose a danger to our community.

         9.      As just one example, in 2020 I was a lead sponsor of the legislation to protect

  whistleblowers who raise good faith concerns about significant workplace threats to health or

  safety related to a public health emergency. This legislation was a direct response to reports of

  essential workers facing retaliation for raising concerns about workplace safety protocols during

  the COVID-19 crisis.

         10.     My colleagues and I saw a problem, so we passed legislation to address that

  problem. That’s the way legislation works.

         11.     Every day we’re in session at the State Capitol, I wear my son’s jacket. It is a

  reminder of what gun violence has taken from me, and how much work we have to do to end gun

  violence in our country.

         12.     I was not in the General Assembly when the LCM Ban was passed, but I did

  testify in support of the bill as a father. I know my colleagues passed it to push us towards a

  future where no family has to endure what mine has. Simply put, large-capacity magazines don’t

  belong on our streets.




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